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   LA VERNE POLICE DEPARTMENT, LA VERNE
 7 CHIEF OF POLICE COLLEEN FLORES
 8
 9                           UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11
12 CALIFORNIA RIFLE & PISTOL                          Case No. 2:23-cv-10169-SPG-ADS
   ASSOCIATION, INCORPORATED; THE
13 SECOND AMENDMENT                                   Honorable Sherilyn Peace Garnett
   FOUNDATION; GUN OWNERS OF                          Magistrate Judge Autumn D. Spaeth
14 AMERICA, INC.; GUN OWNERS
   FOUNDATION; GUN OWNERS OF                          DEFENDANTS LA VERNE
15 CALIFORNIA INC.; ERICK                             POLICE DEPARTMENT AND LA
   VELASQUEZ, an individual; CHARLES                  VERNE CHIEF OF POLICE
16 MESSEL, an individual; BRIAN                       COLLEEN FLORES’
   WEIMER, an individual; CLARENCE                    SUPPLEMENTAL REQUEST FOR
17 RIGALI, an individual; KEITH REEVES,               JUDICIAL NOTICE IN SUPPORT
   an individual; CYNTHIA GABALDON,                   OF THEIR OPPOSITION TO
18 an individual; and STEPHEN HOOVER,                 PLAINTIFFS’ MOTION FOR
   an individual,                                     PRELIMINARY INJUNCTION
19
                 Plaintiffs,
20
          v.
21
   LOS ANGELES COUNTY SHERIFF'S
22 DEPARTMENT; SHERIFF ROBERT
   LUNA in his official capacity; LA VERNE
23 POLICE DEPARTMENT; LA VERNE
   CHIEF OF POLICE COLLEEN FLORES,
24 in her official capacity; ROBERT BONTE,
   in his official capacity as Attorney General
25 of the State of California; and DOES 1-10,
26                Defendants.
27
28

       LA VERNE POLICE DEPARTMENT AND LA VERNE CHIEF OF POLICE FLORES’ SUPPLEMENTAL REQUEST FOR
           JUDICIAL NOTICE ISO THEIR OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
 Case 2:23-cv-10169-SPG-ADS Document 48 Filed 05/23/24 Page 2 of 3 Page ID #:1526


 1          Pursuant to Federal Rule of Evidence 201, Defendants City of La Verne and
 2 Chief Colleen Flores respectfully request that the Court take judicial notice of the
 3 following materials submitted in support of their Opposition to the Motion for
 4 Preliminary Injunction of the Plaintiffs. The document is relevant in the matter as the
 5 Plaintiffs are making an “as applied” challenge to the Defendants’ CCW permit process
 6 and requirements and indicates a change in the process that benefits Plaintiffs and all
 7 other applicants.
 8          The following matters are not subject to reasonable dispute because they can be
 9 accurately and readily determined from sources whose accuracy cannot reasonably be
10 questioned.
11          Exhibit A: The Professional Services Agreement entered by the City of La
12                        Verne with Seal Beach Consulting as of May 13, 2024 for
13                        psychological evaluation of CCW license/permit applicants
14                        applying to the La Verne Police Department for CCW
15                        licenses/permits.
16 I.       LEGAL STANDARD
17          Federal courts may grant judicial notice of facts that “can be accurately and
18 readily determined from sources whose accuracy cannot reasonably be questioned.”
19 Fed. R. Evid. Rule 201(b)(2). A court may take judicial notice of such facts “at any
20 stage of the proceeding,” including in ruling on a motion pending before the court. Fed.
21 R. Evid. 201(f); see Hunt v. Check Recovery Sys., 478 F.Supp.2d 1157, 1160 (N.D. Cal.
22 2007) (taking judicial notice on a summary judgment motion).
23          The Courts routinely grant judicial notice of the records of public entities and
24 agencies, kept in the ordinary course of business of the entity or agency. Such records
25 are not subject to reasonable dispute and their accuracy can be readily determined by
26 review of the public records of the entity or agency.
27 II.      CONCLUSION
28          For the foregoing reasons, the Court should take judicial notice of Exhibit A of
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        LA VERNE POLICE DEPARTMENT AND LA VERNE CHIEF OF POLICE FLORES’ SUPPLEMENTAL REQUEST FOR
            JUDICIAL NOTICE ISO THEIR OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 this Request for Judicial Notice as identified in the Lindsay Declaration.
 2 Dated: May 23, 2024                       JONES MAYER
 3                                           By: /s/Bruce A. Lindsay
                                               Bruce A. Lindsay
 4                                             Monica Choi Arredondo
                                               Attorneys for Defendants,
 5                                             LA VERNE POLICE DEPARTMENT, LA
                                               VERNE CHIEF OF POLICE COLLEEN
 6                                             FLORES
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      LA VERNE POLICE DEPARTMENT AND LA VERNE CHIEF OF POLICE FLORES’ SUPPLEMENTAL REQUEST FOR
          JUDICIAL NOTICE ISO THEIR OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
